                                                     FILED: November 12, 2024

                  UNITED STATES COURT OF APPEALS
                      FOR THE FOURTH CIRCUIT

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                                  No. 24-1886
                             (1:23-cv-01605-WBP)
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KIMBERLY LAFAVE; GLENN M. TAUBMAN; ROBERT HOLZHAUER

            Plaintiffs - Appellants

v.

THE COUNTY OF FAIRFAX, VIRGINIA; KEVIN DAVIS, in his official
capacity as Chief of Police

            Defendants - Appellees

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                                  ORDER
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     The court grants an extension of the briefing schedule as follows:

     Joint appendix due: 11/14/2024

     Opening brief due: 11/14/2024

     Response brief due: 12/16/2024

     Any reply brief: 21 days from service of response brief.

                                      For the Court--By Direction

                                      /s/ Nwamaka Anowi, Clerk
